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A0 242 (Rev. 09/17) Petition for a Writ of Habeas Corpus Under 28   U.S.C. § 2241

                                        UNITED STATES DISTRICT COURT                                                                  FILED
                                                                             for the
                                                                                        -                                           MAY232022
                                                                                                                            ~SD1STE~JCTCOURT~ND




                               P~titio~ii~

                                   V.                                                       Case No.   3:22-CV-95
                                                                                                            (‘S~uppWed by ClerkofCouFt)
                                                                                                           Groh/Trumble/Sims
            ii                 Respondent
                                           —


 (‘nain a of warden or authorized pei~con having custody ofpetitione;)

                          PETITION FOR A WRIT OF HABEAS CORPUS UNDER 28 U.S.C.                                            § 2241
                                                                 Personal Information

          (a) Your full name:                          ~.    r
          (b) Other names you have used:                                            -


2.        Place of confinement:
          (a) Name of institution:
          (b) Address:

          (c) Your identification number:
3.        Are you currently being held on orders by:
          ~Federal authorities        D State authorities                           ~ Other explain:
                                                                                                 -




4.        Are you currently:
          D.~ pretrial detainee (waiting for trial on criminal charges)
          Lv’S erving a sentence (incarceration, parole, probation, etc.) after having been convicted of a crime
             If you are currently serving a sentence, provide:
                    (a) Name and location of court that sentenced you:           A ~                           t                -




                 (b) Docket number of criminal case:                                        .


                 (c) Date of sentencing:                                                               -


         D Being held on an immigration charge
         DOther (explain):




                                                  Decision or Actibn You Are Challenging

5.        Wy-at are you challenging in this petition:
             ow your sentence is being carried out, calculated, or credited by prison or parole authorities (for example,
           revocation or calculation of good time credits)

                                                                                                                                          Page 2 of 9
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          .l~ Pretrial detention                                  I
           ~ Immigration detention
           t~D~tainet
           ~e~yalidity of your conviction or sentence as imposed (for example, sentence beyond the sta~itory
             maxiiniiin or improperly calculated under the sentencing guidelines)
           ~ Disciplinary proceedings
           [EJOther (explain):        ________________                  ______       _____________________________




 6.        Provide more information about the decision or action you are challenging:                     -~         -_____


           (a) Name and location of the agency or court: ~T~j~j~Sr
          ~                                                                     ,__._____...._~z.__                           ~..._

           (b) Docket flumber, case number, or opinion number:             O~cR—1~3t~1i..
           (c) Decision or action you are challenging (for disciplinaiy proceedings, specifo the penalties imposed,):
                 ~ AM ACTUAL I ~ NOC~t~T ~OR M~ C~f4VfcT~N AN bSENTENCE BecAUSE
          ~
          ~
          —____

           (d) Date of the decision or action:

                                             Your Earlier Challenges of the Decision or Action

7.        First appeal
          D~l you appeal the decision, file a grievance, or seek an administrative remedy?
          ~1Yes                  ~No
          (a) If “Yes,” provide:
                   (1) Name of the authority, agency, or court:
                        .~1~UL4~___
                    .   (2) Date of filing:   ~
                        (3) Docket number, case number, or opinion number:
           ~            (4) Result:
                        (5) Date ofresult:     ~
                        (6) Issues raised: ~




          (b) If you answered “No,” explain why you did not appeal:



8.       Second appeal
         Aver the first appeal, did ~u file a second appeal to a higher authority, agency, or court?
       j~Yes


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          (a) If “Yes,” provide:
                   (1) Name of the authority, agency, or court:                     N

                        (2)   Date of filing:
                        (3)   Docket number, case number, or opinion number:
                        (4)   Result:
                        (5)   Date of result:      -


                        (6)   Issues raised:




          (b) If you answered “No,” explain why you did not file a second appeal:
              -   -~




9.        Third appeal
          After the second appeal, did you file a third appeal to a higher authority, agency, or court?
          DYes                   ~No
          (a) If “Yes,” providc:
                   (1) Name of the authority, agency, or court:

                        (2)   Date of filing:
                        (3)   Docket number, case number, or opinion number:
                        (4)   Result:         N /
                       -(5)   Date of result:                    -


                        (6)   ISSUeS raised:   .




         (b) If you answered “No,” explain why you did not file a third appeal:
                          ~_




10.      Motion under 28           U.S.C. § 2255
         In this petition, are you challenging the validity of your conviction or sentence as imposed?
         DYes                    DNo
         If “Yes,” answer the following:
         (a)     Hay~ you already filed a motion under 28 U.S.C.                    §   2255 that challenged this conviction or sentence?
                 D~Yes                     D No


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                              If “Yes,” provide:
                              (1) Name of court:
                              (2) Case number:                                                                  —--—-.—--—,------.-——---———---——


                              (3) Date offiling:          ~OV’tO±~k~1O1kL                            ..~             .   ..   ~
                              (4) Result:                                                                                     .~


                              (5) Date of result:
                              (6) Issues raised:




                   (b)       Have you ever filed a motion in a United States Court of Appeals under 28 U.S.C. § 2244(b)(3)(A),
                             seeking permission to file a second or successive Section 2255 motion to challenge this conviction or
                            se~tence?.
                            ~Yes                        ~ No
                            If “Yes,” provide:
                            (1) Name of court:         -~    S~ COuf+ ~
                            (2) Case number:
                            (3) Date of filing:
                            (4) Result:
                                                       —~+-~n~w—-——-——.--—-—-.-—~---—-.-—.—-----———-——
                                            ~
                            (5) Date of result:
                                                                                                        .                      ~

                            (6) Issues raised:
                                                                                                                                   ~




                  (c)       Explain why the remedy under 28 U.S.C.                   §   2255 is inadequate or ineffective to challenge your      —


                            conviction or sentence:                    ~t4               .ha&o.n~ eara                   ro~&~c+i~i:.ancL




        II.      Appeals of immigration proceedings
                 Does this case concern immigration proceedings?
                 DYes
                         If “Yes,” provide:
                 (a)     Date you were taken into im.rnigration custody:                          NJA              ...~.


                 (b)     Date of the removal or reinstatement order:
                 (c)     Did you file an appeal with the Board of Immigration Appeals?
                        DYes                        DNo


                                                                                                                                               Page 5 of 9
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                     If “Yes,” provide:
                     (1) Date of filing:                            -


                     (2) Case number:
                     (3) Result:         —


                     (4) Date of result:              ~
                     (5) Issues raised:




          (d)       Did you appeal the decision to the United States Court of Appeals?
                    EYes                      ~No
                    If “Yes,” provide:
                    (1) Name of court:
                    (2) Date of filing:
                    (3) Case number:
                    (4) Result:              -


                    (5) Date of result:
                    (6) Issues raised:




12.      Other appeals
         Other than the appeals you listed above, have you filed any other petition, application, or motion about the issues
         raised in this petition?
         FJYes                    L~No
         If “Yes,” provide:
         (a) Kind of petition, motion, or application:
         (b) Name of the authority, agency, or court:

          (c) Date of filing:
          (d) Docket number, case number, or opinion number:
         (e) Result:
         (f) Date of result:
         (g) Issues raised:




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                                                Grounds for Your Challenge in This Petition
                                                                            4..

13.       State every ground (reason) that supports your claim that you are being held in violation of the Constitution,
          laws, or treaties of the Uttited States. Attach additional pages if you have more than four grounds. State the
          facts supporting each ground. Any legal arguments must be submitted in a separate memorandum.

        GROUND ONE:                Aci~ tyrnocey~ce

          (a) Supporting facts (Be brfrf Do not cite cases or law.):
         ~
         ~e~L t~n u~ç1oh~ Y esT~ue~B~ rws~S~oy~d                                                                                  -



         ~                                                                                             ~




         (b) Did you present Groiiyd One in all appeals that were available to you?                                     ——.~ --


         EYes                  ~No

       GROUND TWO:                             ~C~~pj~€dwiq                                     i~d~~15
             ~                                                                            ‘~__~.___




         (a) Supporting facts (Be brief Do not cite cases or/ow.):
                          e,
        ~                                                                                f—_~

        (b)Did you present Ground Two in all appeals that were available to you?
        EYes                 DNo

      GROUNDTHREE:                --~~__                                          ____




        (a) Supporting facts (Be bri~f Do not cite cases or/ow.):




        (b) Did you present Ground Three in all appeals that were available to you?
        EYes                  ~JNo



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        GROUND FOUR:                               ç       -




          (a) Supporting facts (Be brief Do not cite cases or law.):




          (b) Did you present Ground Four in all appeals that were available to you?
          DYes                  ONo

14.       If there are any grounds that you did not present in all appeals that were available to you, explain why you did
          not:




                                                                  Request for Relief

15.   State exactly what you want the court to do:


                                            ~-J ~




                                                                                                                     Page S of 9
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                                                    Declaration Under Penalty Of Perjury
          If you are incarcerated, on what date did you place this petition in the prison mail system:
         —           Mc~n ~
I declare under penalty of perjur’,~’ that I am the petitioner, I have read this petition or had it read to me, and the
information in this petition is true and correct. I understand that a false statement of a material factmay ser~’e as the basis
for prosecution for perjury.




Date:     ~                           -                          ___.-—---~~~.,——---——.--—-—


                                                                                     Signature ofPetitioner




                                                                                Signatur~47~nev or ~




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